Case 3:20-cr-30018-SMY Document 41-1 Filed 03/30/21 Page 1 of 4 Page ID #62




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff,      )
                                              )    CRIMINAL NO.
               vs.                            )
                                              )
                                              )
                                              )
                              Defendant.      )

          DEFENDANT’S FULL WAIVER OF READING OF TERMS AND
        CONDITIONS OF SUPERVISION IN OPEN COURT IN A SENTENCING
                             PROCEEDING

       Defendant, through Counsel, acknowledges that Defendant has reviewed and discussed

the Presentence Report (PSR), including the proposed terms and conditions of supervision

recommended in the PSR.        Defendant and Counsel have discussed the explanations of those

conditions and the justifications for them.

       Defendant understands that, because no objections regarding the terms and conditions of

supervision recommended in the PSR have been filed, the Court may impose upon Defendant all

of the terms and conditions of supervision recommended in the PSR which the Court finds to be

appropriate. Defendant understands that the terms and conditions of supervision determined to

be appropriate by the Court will be included in the judgment, and Defendant understands that

Defendant will be required to follow the terms and conditions of supervision while on

supervision.

       Defendant is aware that, during the sentencing hearing, the Court will read to Defendant

all of the terms and conditions of supervision that the Court is imposing if Defendant requests.
Case 3:20-cr-30018-SMY Document 41-1 Filed 03/30/21 Page 2 of 4 Page ID #63




Defendant has had adequate time to discuss the terms and conditions of supervision with Counsel

and waives reading of the terms and conditions of supervision.

       Defendant has no objection to imposition of the conditions of supervision set forth in the

PSR and Defendant has no objection to the wording of the conditions. Defendant agrees that the

PSR sets forth adequate explanation for the necessity of the conditions, and Defendant

understands the conditions.

       Defendant signs this waiver freely and voluntarily, and no threats, force or coercion have

been used to cause Defendant to sign this waiver.


                                                    _________________________
                                                    Defendant

                                                    _________________________
                                                    Date


                                                    _________________________
                                                    Defense Counsel

                                                    __________________________
                                                    Date




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Case 3:20-cr-30018-SMY Document 41-1 Filed 03/30/21 Page 3 of 4 Page ID #64




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff,      )
                                              )     CRIMINAL NO.
               vs.                            )
                                              )
                                              )
                                              )
                              Defendant.      )

        DEFENDANT’S PARTIAL WAIVER OF READING OF TERMS AND
      CONDITIONS OF SUPERVISION IN OPEN COURT IN OPEN COURT IN A
                       SENTENCING PROCEEDING

       Defendant, through Counsel, acknowledges that Defendant has reviewed and discussed

the Presentence Report (PSR), including the proposed terms and conditions of supervision

recommended in the PSR.        Defendant and Counsel have discussed the explanations of those

conditions and the justifications for them.

       Defendant has filed certain objections to the terms and conditions of supervision, and the

Court has now ruled upon them during the sentencing hearing.

       Defendant understands that, because no objections regarding the remaining terms and

conditions of supervision recommended in the PSR have been filed, the Court may impose upon

Defendant all of the remaining terms and conditions of supervision recommended in the PSR that

the Court determines to be appropriate. Defendant understands that the remaining terms and

conditions of supervision will be included in the judgment and that Defendant will be required to

follow the terms and conditions of supervision while on supervision.

       Defendant is aware that the Court will read to Defendant all of the terms and conditions

of supervision that the Court is imposing if Defendant requests.    Defendant has had adequate
Case 3:20-cr-30018-SMY Document 41-1 Filed 03/30/21 Page 4 of 4 Page ID #65




time to discuss the terms and conditions of supervision with Counsel and waives reading of the

terms and conditions of supervision.

       Other than those objections made during the sentencing hearing, Defendant has no other

objections to imposition of the remaining conditions of supervision set forth in the PSR and

Defendant has no objection to the wording of those remaining conditions. Defendant agrees that

the PSR sets forth adequate explanation for the necessity of the remaining conditions to which

Defendant has not objected, and Defendant understands the conditions.

       Defendant signs this waiver freely and voluntarily, and no threats, force or coercion have

been used to cause Defendant to sign this waiver.


                                                    _________________________
                                                    Defendant

                                                    _________________________
                                                    Date


                                                    _________________________
                                                    Defense Counsel

                                                    __________________________
                                                    Date




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